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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Judge Philip A. Brimmer

 Civil Action No. 11-cv-03238-PAB-KMT

 SAMUEL M. WALKER, and
 DIANE H. WALKER,

       Plaintiffs,

 v.

 FRED WEGENER, individual and official capacity,
 BOBBY PRIESTLY, individual and official capacity,
 CINDY HARDEY, individual and official capacity,
 REBECCA BRAMLETT, individual and official capacity,
 AMY FRANCK, individual and official capacity,
 JUAN GALLEGOS, individual and official capacity,
 DEP SGT BROWN, individual and official capacity,
 PARK COUNTY,
 PARK COUNTY COMMISSIONERS,
 ATTORNEY GENERAL, COLORADO, official capacity, and
 COURT CLERK, individual and official capacity,

       Defendants.


  AMENDED ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

 Brimmer, J.

       Pursuant to 28 U.S.C. § 636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b),
 United States Magistrate Judge Kathleen M. Tafoya is designated to conduct
 proceedings in this civil action as follows:

       (X)     Convene a scheduling conference under Fed. R. Civ. P. 16(b) and enter a
               scheduling order meeting the requirements of D.C.COLO.LCivR 16.2.

       (X)     Conduct such status conferences and issue such orders necessary for
               compliance with the scheduling order, including amendments or
               modifications of the scheduling order upon a showing of good cause.

       ()      Convene such settlement conferences and direct related procedures as
               may facilitate resolution of this case.
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       (X)    Hear and determine pretrial matters, including discovery and other non-
              dispositive motions.

       (X)    Conduct hearings, including evidentiary hearings, and submit proposed
              findings of fact and recommendations for rulings on dispositive motions.

       (X)    Conduct a pretrial conference and enter a pretrial order.




       IT IS ORDERED that this civil action is referred to the named magistrate judge to
 proceed according to the designations marked (X) above.


       Dated December 27, 2011, at Denver, Colorado.


                                         BY THE COURT:


                                         s/ Philip A. Brimmer
                                         Philip A. Brimmer
                                         United States District Judge




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